                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
TZVIA WEXLER,                                      :
                            Plaintiff,             :
                                                   :               Civil Action
                     v.                            :               No. 19-5760
                                                   :
CITY OF PHILADELPHIA, et al.,                      :
                    Defendants.                    :
                                                   :

                                           ORDER

      AND NOW, this _________ day of __________________, 2021, upon consideration of

the Defendants’ Motion to Compel, and any reply thereto, it is HEREBY ORDERED that the

Motion is GRANTED.

      It is FURTHER ORDERED that Plaintiffs shall provide:

             1.      The names of individuals likely to have discoverable information relevant

      to Plaintiff’s claims, including Sivy Blume and Plaintiff’s husband, who has yet to be

      named. Plaintiff specifically conceded she was familiar with the individual identified as

      Sivy Blume, pictured in the photograph with Plaintiff in Exhibit L, during her deposition.

             2.      The right to timely depose any individuals identified in response to

      Outstanding Request No. 1.

             3.      Any documentation in Plaintiff’s possession confirming the date of the

      event hosted by Sivy Blume and featured in Exhibit L.

             4.      Plaintiff has not produced any expert reports from either provider identified

      in her Responses (Dr. Ofra Sharabani and Dr. Phillip Nimoityn), nor has Plaintiff produced

      any medical records from either provider. To the extent Plaintiff intends to call Dr.
Sharabani and/or Dr. Nimoityn at trial, Defendants request the right to timely depose said

provider.




                                                    BY THE COURT:



                                                    ____________________________
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                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
TZVIA WEXLER,                                        :
                              Plaintiff,             :
                                                     :               Civil Action
                       v.                            :               No. 19-5760
                                                     :
CITY OF PHILADELPHIA, et al.,                        :
                    Defendants.                      :
                                                     :

                            DEFENDANTS’ MOTION TO COMPEL

       Defendants, Charmaine Haynes-Hawkins, James Koenig, Kelly Keenan (collectively as

“Defendants”), by and through the undersigned counsel, hereby file this Motion to Compel. In

support of this motion, Defendants incorporates the attached Memorandum of Law. Defendants

respectfully request that this Court issue an order: (1) The names of individuals likely to have

discoverable information relevant to Plaintiff’s claims, including Sivy Blume and Plaintiff’s

husband, who has yet to be named. Plaintiff specifically conceded she was familiar with the

individual identified as Sivy Blume, pictured in the photograph with Plaintiff in Exhibit L, during

her deposition; (2) The right to timely depose any individuals identified in response to Outstanding

Request No. 1; (3) Any documentation in Plaintiff’s possession confirming the date of the event

hosted by Sivy Blume; (4) Plaintiff has not produced any expert reports from either provider

identified in her Responses (Dr. Ofra Sharabani and Dr. Phillip Nimoityn), nor has Plaintiff

produced any medical records from either provider. To the extent Plaintiff intends to call Dr.

Sharabani and/or Dr. Nimoityn at trial, Defendants request the right to timely depose said provider.
Date: February 18, 2021   Respectfully submitted,


                          /s/ Meghan E. Claiborne
                          Meghan E. Claiborne
                          Deputy City Solicitor
                          Pa. Attorney ID No. 315918
                          City of Philadelphia Law Department
                          1515 Arch Street, 14th Floor
                          Philadelphia, PA 19102
                          215-683-5447
                          meghan.claiborne@phila.gov
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                               Plaintiff,              :
                                                       :               Civil Action
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                                                       :
CITY OF PHILADELPHIA, et al.,                          :
                    Defendants.                        :
                                                       :

          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL

       Plaintiff, Tzvia Wexler (“Plaintiff”), has filed a Complaint asserting claims against

Defendants, Charmaine Haynes-Hawkins, James Koenig, Kelly Keenan (collectively as

“Defendants”). Defendants now file this motion to compel (the “Motion”) seeking an order

compelling Plaintiffs to provide the information outlined in the proposed order attached hereto.

I.     ARGUMENT

       Plaintiff commenced this litigation on December 6, 2019 (“Complaint”) [Dkt. 1]. To-date,

Plaintiffs have not produced Rule 26 initial disclosures. Defendants propounded interrogatories

and requests for production on July 31, 2020. Discovery Requests, attached as Exhibit A. Despite

repeated requests, Plaintiff failed to respond to the Discovery Requests until February 3, 2021. In

her responses (“Responses”), Plaintiff failed to provide basic information in her possession

including photographs of the third officer present at Plaintiff’s arrest and photographs of Plaintiff’s

injuries, or any medical records. Responses, attached as Exhibit B at Interrogatory Response No.

6, Request for Production Response No. 2. Despite not having produced initial disclosures,

Plaintiff further declined to provide basic information concerning potential witnesses Plaintiff may

call at trial. Id. at Interrogatory Response No. 22.
       Moreover, despite repeated requests since August 2020, Plaintiff failed to appear for

deposition until February 16, 2021- two (2) days before the end of the extended discovery deadline.

Confirmation of Plaintiff’s Deposition, attached as Exhibit C.

       As a result of Plaintiff’s failure to produce initial disclosures or to timely and sufficiently

respond to the Discovery Requests or appear for depositions, Defendants find themselves on the

eve of discovery with multiple outstanding requests for basic information.

       A.      Timeline

   •   July 31, 2020: Defendants propound Discovery Requests. Ex. A.
   •   August 31, 2020: Request for dates for Plaintiff’s deposition. Aug. 31, 2020 Email,
       attached as Exhibit D.
   •   November 4, 2020: Notice of Plaintiff’s Deposition for November 6, 2020. Nov. 4, 2020
       Email, attached as Exhibit E.
   •   December 14, 2020: Request for responses to Discovery Requests and dates for Plaintiff’s
       depositions. Dec. 14, 2020 Email, attached as Exhibit F.
   •   January 28, 2021: Email requesting responses to Discovery Requests and dates for
       Plaintiff’s deposition. Jan. 28, 2021 Email, attached as Exhibit G.
   •   February 2, 2021: Email requesting responses to Discovery Requests and dates for
       Plaintiff’s deposition. Feb. 2, 2021 Email, attached as Exhibit H.
   •   February 3, 2021: Plaintiff provides Responses. Ex. B.
   •   February 4, 2021: Email requesting dates for Plaintiff’s deposition. Feb. 4, 2021 Email,
       attached as Exhibit I.
   •   February 5, 2021: Email requesting supplemental responses to Plaintiff’s Responses,
       including descriptions of any other officers known by Plaintiff to have present during
       Plaintiff’s arrest and requesting dates for Plaintiff’s deposition. Feb. 5, 2021 Email,
       attached as Exhibit J.
   •   February 8, 2021: Request for dates for Plaintiff’s deposition. Feb. 8, 2021 Email, attached
       as Exhibit K.
   •   February 16, 2021: Plaintiff sits for deposition. Ex. C. During Plaintiff’s deposition she
       described other officers present, referenced her husband as potentially having information
       relevant to her damages and confirmed that she had photographs taken on her phone of the
       scene that had never been produced. Additionally, Plaintiff testified that she could not leave
       her house for 3 months and was presented with a photograph online purported to show
       Plaintiff socializing at an for Plaintiff’s employer purportedly hosted by “Sivy Blume”
       roughly a month after the incident; Plaintiff indicated she could not remember the date of
       the event and had no documents or information in her possession to confirm the actual date
       of the event. Event Photograph, attached as Exhibit L.
   •   February 17, 2021: Defendants request never-produced Initial Disclosures to confirm that
       Plaintiff has not failed to identify any additional individuals with knowledge potentially
       relevant to the incident. Feb. 17, 2021 Email, attached as Exhibit M.

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   •   February 18, 2021: Defendants again request Initial Disclosures “including documents you
       or your client have in your possession relevant to the claims/defenses and the
       names/contact information of any individuals with knowledge of the incident,” and
       requesting confirmation that Plaintiff will not object to the depositions of any newly
       identified individuals. Feb. 18, 2021, attached as Exhibit N.

       B.      Defendants’ Outstanding Requests

       Defendants diligently attempted to timely complete discovery prior to the close of

discovery. The outstanding information sought by Defendants is material to defending against

Plaintiff’s claims. Defendants should not be prejudiced because the failure to timely complete

discovery is the result of Plaintiff’s repeat failures to provide basic, material information including

the names and contact information of individuals with discoverable information, the descriptions

and/or photographs of material witnesses, or to appear for deposition. As a result, Defendants seek

the following information:

            1. The names of individuals likely to have discoverable information relevant to

               Plaintiff’s claims, including Sivy Blume and Plaintiff’s husband, who has yet to be

               named. Plaintiff specifically conceded she was familiar with the individual

               identified as Sivy Blume, pictured in the photograph with Plaintiff in Exhibit L,

               during her deposition.

            2. The right to timely depose any individuals identified in response to Outstanding

               Request No. 1.

            3. Any documentation in Plaintiff’s possession confirming the date of the event hosted

               by Sivy Blume and featured in Exhibit L.

            4. Plaintiff has not produced any expert reports from either provider identified in her

               Responses (Dr. Ofra Sharabani and Dr. Phillip Nimoityn), nor has Plaintiff

               produced any medical records from either provider. To the extent Plaintiff intends



                                                  3
                 to call Dr. Sharabani and/or Dr. Nimoityn at trial, Defendants request the right to

                 timely depose said provider.

II.      CONCLUSION

      For the foregoing reasons, Defendants seek an order in the attached form.




Date: February 18, 2021                               Respectfully submitted,


                                                      /s/ Meghan E. Claiborne
                                                      Meghan E. Claiborne
                                                      Deputy City Solicitor
                                                      Pa. Attorney ID No. 315918
                                                      City of Philadelphia Law Department
                                                      1515 Arch Street, 14th Floor
                                                      Philadelphia, PA 19102
                                                      215-683-5447
                                                      meghan.claiborne@phila.gov




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                    Defendants.                      :
                                                     :

                           LOCAL RULE 26.1 CERTIFICATION

       Pursuant to Local Rule 26.1, the undersigned, Meghan E. Claiborne, Esq., hereby certifies

that after reasonable effort, I was unable to resolve the disputes concerning Plaintiffs’ discovery

deficiencies.

       Defendants have outlined the attempts to obtain said information in the attached motion

and the records of such communications are attached hereto.

       Defendants therefore request this court grant the above Motion to Compel.




Date: February 18, 2021                              Respectfully submitted,


                                                     /s/ Meghan E. Claiborne
                                                     Meghan E. Claiborne
                                                     Deputy City Solicitor
                                                     Pa. Attorney ID No. 315918
                                                     City of Philadelphia Law Department
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                                                     :

                                CERTIFICATE OF SERVICE

       I hereby certify that on the date below, the Defendant’s Motion to Compel was filed via

the Court’s electronic filing system and is available for downloading.



Date: February 18, 2021                              /s/ Meghan E. Claiborne
                                                     Meghan E. Claiborne
                                                     Deputy City Solicitor
                                                     Pa. Attorney ID No. 315918
                                                     City of Philadelphia Law Department
                                                     1515 Arch Street, 14th Floor
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